Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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Case:16-03242-EAG11 Doc#:10 Filed:06/02/16 Entered:06/02/16 09:11:06   Desc: Main
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